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                  EXHIBIT 1
 March 19, 2020 cease and desist letter
from Kerry S. Culpepper to Mike Leber,
     Agent for Hurricane Electric
                      Case 2:20-cv-01034-JCM-DJA Document 1-2 Filed 06/10/20 Page 2 of 13

           1.
       Culpepper IP
                                                       CULPEPPERIP,LLLC
                                                                ATTORNEY AT LAW
                                                          75-170 HUALALAI ROAD, SUITE 8204
                                                             KAILUA-KoNA, HAWAII 96740
KERRY S. CULPEPPER'

                                                                TEL: (808) 464-4047
• ADMITTED TO PRACTICE IN VIRGINIA. HAWAI'I                     FAX: (202) 204-51 81
  AND BEFORE THE USPTO
                                                               WWW.CULPEPPERIP.COM


                                                          PATENTS, TRADEMARKS & COPYRIGHTS

                                                      Via E-mail<copyright@he.net>


            March 19,2020


           Via Certified Mail
            Mike Leber, Agent for Hurricane Electric
            Hunicane Electric LLC
            760 Mission Court
           Fremont, CA 94539


           Re: Cease and Desist of Direct Copyright Infringement, Contributory Copyright Infringement at
           Hunicane Electric Subscriber IP addresses
           My Reference and Case Number: 19-cv-169-LEK-KJM (District of Hawaii)


           Dear Sir or Madam,
                        As explained below, I am writing to you regarding the Internet service Hurricane Electric
            ("HE") provides to its subscribers at IP addresses including but not limited to those discussed
           later in this letter ("subscribers"), My law film represents the owners of the copyright protected
           motion pictures including but not limited to as shown below.
                                                                                                Copyright Certificate
                           NO.                      OWNER               MOTION PICTURE
                                                                                                     Number
                              1               Millennium Funding,      Mechanic: Resurrection       PA1998057
                                                      Inc.
                              2                    Bodyguard                 The HUman's
                                                                                                    PAu3844508
                                                Productions, Inc.              Body~uard
                              3               UN4 Productions, Inc.       Boyka: Undisputed        PAOOO2000772
                              4                   Hunter Killer              Hunter Killer          PA2136168
                                                Productions, Inc.
                              5
                                              LHF Productions, Inc.       London Has Fallen          PA1982831


                                              Rambo V Productions,
                              6                                          Rambo V: Last Blood        PA2202971
                                                     Inc.
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             7                Fallen Productions, Inc.   Angel Has Fallen          PA2197434


             8                    HB Productions, Inc.       Hellboy               PA2176664



         On behalf of owners 1-5, my law firm filed a lawsuit here in Hawaii (l :19-cv-169)
against operators of movie piracy websites under the name "YTS" for copyright infringement,
contributory copyright infringement and intentional inducement.
         We have determined that your subscribers have repeatedly infringed the copyright in my
clients' motion pictures via the YTS websites, among other means.
Prior Notices sent to HE by My Firm
         I sent first and second infringement notices per the Digital Millennium Copyright Action
("DMCA") to your agent on July 10,2019 and July 12,2019. (See Exhibits 1-2). The first notice
concerned observed infringement of the motion picture Hunter Killer at the IP address
65.19.167.130 at timestamp 2018-10-1909:16:51. The second DMCA notice concerned
infringements of various motion pictures of my clients at the following dates and IP addresses:
  No.                IP address                           Hit Date
                 1   2001:470:b07e:0:d83a:a3ff:fe5e:ca   2018-09-1912:27:05.71563+00
                 2   216.218.222.14                      2018-08-24 14:34:20.29611+00
                 3   216.218.222.12                      2018-03-06 18:11:31.503688+00
                 4   65.19.167.130                       2018-02-1617:55:55.294389+00
                 5   216.218.222.14                       2018-02-16 13:19:46.327169+00
Thousands of infringements of my clients' motion pictures have occurred at the above IP
addresses.


Prior Notices sent to HE by Owners' Agent
         My clients' agent has sent over 290 infringement notices to HE regarding 136 IP
addresses at copyright@he.net requesting that HE take action. One such exemplary notice is
attached to this letter as Exhibit "3". It does not appear that HE terminated the subscriber's
account (IP address 74.82.60.174) or took any meaningful action in response to these notices. In
fact, infringement continues to occur at the' 174 IP address as recently as 3/18/2020. Examples
of the numbers of notices sent for certain IP addresses is shown below.


 IP                      Notices Sent
 184.105.255.230                     11
 74.82.60.174                          7
 74.82.60.175                          6
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 72.52.87.188                   6
 74.82.60.74                    5
 72.52.87.94                    5
 74.82.60.91                    5
 72.52.87.78                    5
 72.52.87.91                    4
 74.82.60.191                   4
       The DMCA provides a safe harbor for qualified services providers from liability from
copyright infringement. However, a requirement for safe harbor is that the service provider
adopt and reasonably implement, and inform subscribers and account holders of the service
provider's system or network of, a policy that provides for the termination in appropriate
circumstances of subscribers and account holders of the service provider's system or network
who are repeat infringers. See 17 USC 512(i)(I)(A). HE fails to qualify for a safe harbor
because HE has not telminated the subscriber account despite the multiple notifications sent by
my clients' agent.
       Accordingly, my clients and I believe that HE is liable for these infringements of my
clients' copyrights in violation of federal law under the Copyright Act, 17 USC §50 1. Remedies
available to my clients include: An injunction against further infringement; Actual and statutory
damages of up to $150,000/motion picture; and costs and attorney's fees.
       Nonetheless, my clients would like to resolve this issue outside of litigation ifpossible.
To do so, we request that: (l) HE agrees to immediate telminate all Internet service to the
subscribers at the above IP addresses; (2) HE agrees to take the appropriate action to terminate
subscriber accounts in response to all further copyright notifications received from my clients'
agent; and (3) pay a portion of my clients' damages.
       I look forward to receiving your affirmative response that you desire to fully comply with
the above-stated requests by May 15,2020 so that we can discuss this issue further. My clients
would like to resolve this matter amicably but will consider any and all legal action necessary to
protect their valuable intellectual property rights under federal and state law.
       This letter is written without prejudice to the rights and remedies of our client, all of
which are expressly reserved.




Kerry . Culpepper
kculpepper@culpepperip.com
Attachment: Exhibits 1-3
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                       Exhibit "1"
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        Infringement of the motion picture Hunter Killer is/was induced by (1) the content
(promotional language of YTS); and/or (2) the link to download the torrent file of the motion
pictures at the websites:
        YTS.AM


         Identification of the material that is claimed to be infringing or to be the subject of
infringing activity and that is to be removed or access to which is to be disabled, and information
reasonably sufficient to permit Hurricane Electric to locate the material.


       (1) the content (promotional language of YTS); and/or (2) the link to download the
motion picture at the websites:


       YTS.AM
       65.19.167.1302018-10-1909:16:51
        Information reasonably sufficient to permit Hurricane Electric to contact the Complaining
Party, such as an address, telephone number, and, if available, an electronic mail address at
which the Complaining Party may be contacted.


       Kerry S. Culpepper, Esq.
       CUlpepper IP, LLLC
       75-170 Hualalai Road
       Suite 8204
       Kailua-Kona, Hawaii 96740
       US Tel 1-808-464-4047


      A statement that the Complaining Party has a good faith belief that use of the material in
the manner complained of is not authorized by the copyright owner, its agent, or the law.


        I, have a good faith belief that use of the material in the manner complained of is not
authorized by the copyright owner, its agent, or the law.


        A statement that the information in the notification is accurate, and under penalty of
perjury, that the Complaining Party is the owner, or is authorized to act on behalf of the owner,
of an exclusive right that is allegedly infringed.
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        The information in the notification is accurate, and under penalty of perjury, I am
authorized to act on behalf of the owner, Hunter Killer Productions, Inc. of an exclusive right that
is allegedly infringed.


       Sincerely,

       /ksc/   /~
       Kerry S. Culpepper
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                      Exhibit "2"
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        Infringement of the motion picture Hunter Killer is/was induced by (1) the content
(promotional language of YTS); and/or (2) the link to download the torrent file of the motion
pictures at the websites YTS.AM, YTS.AG and YTS.GG hosted and/or supported at following IP
addresses at following times:
 No.         IP address                          Hit Date                         Infringing Website
                                                 2018-09-19
        1 2001:470:b07e:0:d83a:a3ff:fe5e:ca      12:27:05.71563+00                yts.ag
                                                 2018-08-24
        2 216.218.222.14                         14:34:20.29611+00                yts.am
                                                 2018-03-06
        3 216.218.222.12                         18:11:31.503688+00               yts.gg
                                                 2018-02-16
        4 65.19.167.130                          17:55:55.294389+00               yts.gg
                                                 2018-02-16
        5 216.218.222.14                         13:19:46.327169+00               yts.gg


         Identification of the material that is claimed to be infringing or to be the subject of
infringing activity and that is to be removed or access to which is to be disabled. and information
reasonably sufficient to permit Hurricane Electric to locate the material.


       (1) the content (promotional language of YTS); and/or (2) the link to download the
motion picture at the websites:


       YTS.AM, YTS.AG and YTS .·66       .

        Information reasonably sufficient to permit Hurricane Electric to contact the Complaining
Party, such as an address, telephone number, and, if available, an electronic mail address at
which the Complaining Party may be contacted.


       Kerry S. Culpepper, Esq.
       CUlpepper IP, LLLC
       75-170 Hualalai Road
       Suite 8204
       Kailua-Kona, Hawaii 96740
       US Tel 1-808-464-4047


      A statement that the Complaining Party has a good faith belief that use of the material in
the manner complained of is not authorized by the copyright owner, its agent. or the law.
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        I, have a good faith belief that use of the material in the manner complained of is not
authorized by the copyright owner, its agent, or the law.


        A statement that the information in the notification is accurate, and under penalty of
perjury, that the Complaining Party is the owner, or is authorized to act on behalf of the owner,
of an exclusive right that is allegedly infringed.


        The information in the notification is accurate, and under penalty of perjury, I am
authorized to act on behalf of the owner, Hunter Killer Productions, Inc. of an exclusive right that
is allegedly infringed.


       Sincerely,

       /ksc/   ~
       Kerry S. Culpepper
    Case 2:20-cv-01034-JCM-DJA Document 1-2 Filed 06/10/20 Page 11 of 13


From:               notice@notices.copyrightmanagementservicesltd.com
To:                 copyright@he.net
Cc:                 ccbk@notices.copyrightmanagementservicesltd.com
Subject:            Notice of Claimed Infringement [Case No. 40559578682]
Date:               Friday, March 6, 2020 12:36:30 AM




-----BEGIN PGP SIGNED MESSAGE-----
Hash: SHA256

Notice of Claimed Infringement


Notice ID: 40559578682
Notice Date: 2020-03-06 10:36:30


Dear Sir or Madam:

This message is sent on behalf of Fallen Productions, Inc..

Under penalty of perjury, I assert that Copyright Management Services, Ltd. (CMS) is authorized to act on behalf of
the owner of the exclusive copyrights that are alleged to be infringed herein.

Fallen Productions, Inc. owns the copyrights to the movie Angel Has Fallen. The unauthorized download and
distribution of this file by your IP address constitutes copyright infringement.

Please see below details for the infringements:

Protocol: BITTORRENT
Infringed Work: Angel Has Fallen
Infringing FileName: Angel.Has.Fallen.2019.WEB-DL.x264-FGT
Infringing FileSize: 1236049106
Infringer's IP Address: 74.82.60.174
Infringer's Port: 54527
Initial Infringement Timestamp: 2020-02-08 16:00:25

And, you’re also creating a security risk on your computers, devices and networks when you download unauthorized
movies or allow others to do so from your Internet connection.

We respectfully ask that you stop infringing and redistributing Fallen Productions, Inc. copyright protected content,
and take the proper steps to secure your Internet so that others do not infringe and redistribute our content as well.

We have a good faith belief that use of the copyrighted material detailed above is not authorized by the copyright
owner, its agent, or the law. In addition, we have a good faith subjective belief that the use does not constitute fair
use. The information in this notice is accurate and we state, under penalty of perjury, that we are authorized to act on
behalf of the owner of the copyright that is allegedly infringed. This letter is not a complete statement of Fallen
Productions, Inc.’s rights in connection with this matter, and nothing contained herein constitutes an express or
implied wavier of any rights or remedies of Fallen Productions, Inc. in connection with this matter, all of which are
expressly reserved.

We appreciate your assistance and thank you for your cooperation in this matter.

Respectfully,

Catherine Hyde




                                                  Exhibit "3"
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Copyright Management Services Ltd.
notice@notices.copyrightmanagementservicesltd.com
Address:
43 Berkeley Square
London W1J 5AP
United Kingdom




<?xml version="1.0" encoding="UTF-8"?>
<Infringement>
        <Case>
                <ID>40559578682</ID>
        </Case>
        <Complainant>
                <Entity>Fallen Productions, Inc.</Entity>
                <Contact>Catherine Hyde</Contact>
                <Address>43 Berkeley Square London W1J 5AP United Kingdom</Address>
                <Email>notice@notices.copyrightmanagementservicesltd.com</Email>

        </Complainant>
        <Service_Provider>
                <Entity>Hurricane Electric</Entity>
                <Address>907-651 Nootka Way, Port Moody, BC V3H 0A1, CA</Address>
                <Phone>+1-604-724-9612</Phone>
                <Email>copyright@he.net</Email>
        </Service_Provider>
        <Source>
                <TimeStamp>2020-02-08T16:00:25Z</TimeStamp>
                <IP_Address>74.82.60.174</IP_Address>
                <Port>54527</Port>
                <Type>BitTorrent</Type>
        </Source>
        <Content>
                <Item>
                        <Title>Angel Has Fallen</Title>
                        <FileName>Angel.Has.Fallen.2019.WEB-DL.x264-FGT</FileName>
                        <FileSize>1236049106</FileSize>
                        <Type>Movie</Type>
                        <Hash Type="SHA1">DFCBE824F95FDE2C814953240BD598B7ADF8DB66</Hash>
                </Item>
        </Content>
</Infringement>
-----BEGIN PGP SIGNATURE-----

iQIIBAEBCAByBQJeYievaxxDYXRoZXJpbmUgSHlkZSAoQ29weXJpZ2h0IE1hbmFn
ZW1lbnQgU2VydmljZXMgTGltaXRlZCkgPG5vdGljZUBub3RpY2VzLmNvcHlyaWdo
dG1hbmFnZW1lbnRzZXJ2aWNlc2x0ZC5jb20+AAoJEPSJdnWuCmlX4acMAKz8utQd
9jY3KK04uvQ30apxgAkOq8kytbUSh4S4VZoxkGbpzzkG8OYE/NRybpBbbEK5s7+E
uoLUtZYtX1T3Ahgw4B7JL8B4qAWaKK4UGzXtO6Nz8mAdYuJKvTo9D/INgJr/pG9X
PlvXMo3OaLIWW7wyrdndwHkaG2NIayL04lmgzyBMqC0xEwiaYCPwT/FDb0el8gRd
ARHzgQgGf7h6l5U+1WAVDDFAvOaf8Y8lwJI7iGyd9BALrtvVVL96U1jidE2F8G40
eUOBcF8x5GSm/WdVAunWM7TGnfaUyWrCYfaIfttkQ8aY1khuKYH/a+h/6YfQTmCh
YYm7yt7pyQb6htolgFS5+MoivEVN3v3VRJYDvC+YqQ9DfozEPBWzgEF6o1cej0Tx
QuSfzoYuVC0VC/0LTU4op8TNUGoO62714CLIzhsWz8rBV+l3immvvlNRLCuCGPuY
x2ibPZFuVZCu78NEMUZ+BWN0UB2ePRuFrg0OpM/BFDrg2cZloI9BayGuVw==
   Case 2:20-cv-01034-JCM-DJA Document 1-2 Filed 06/10/20 Page 13 of 13


=elxY
-----END PGP SIGNATURE-----
